Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 1 of 20 Page ID #:135




                 EXHIBIT 4
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 2 of 20 Page ID #:136
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 3 of 20 Page ID #:137
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 4 of 20 Page ID #:138
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 5 of 20 Page ID #:139
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 6 of 20 Page ID #:140
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 7 of 20 Page ID #:141
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 8 of 20 Page ID #:142
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 9 of 20 Page ID #:143
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 10 of 20 Page ID #:144
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 11 of 20 Page ID #:145
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 12 of 20 Page ID #:146
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 13 of 20 Page ID #:147
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 14 of 20 Page ID #:148
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 15 of 20 Page ID #:149
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 16 of 20 Page ID #:150
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 17 of 20 Page ID #:151
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 18 of 20 Page ID #:152
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 19 of 20 Page ID #:153
Case 2:25-cv-03053   Document 1-4   Filed 04/07/25   Page 20 of 20 Page ID #:154
